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MEMPH|S DlVlSlON 05 JUH§ __§, M§§ H§ §2
UN|TED STATES OF AMERICA aossnti£`t?. aj ‘rncuo
CLEP.K. u.:§. az§§;§'§z§'§,§§g§r§§§

-v- 2:04CR20292_01_D W.D. OF Tf'», u. _¢ »

GRADY MCDOWN
Steffen G. Schreiner, CJA
Defense Attorney
369 North Main
Memphis, TN 38103

 

JUDGMENT IN A CR|M|NAL CASE
{For Offenses Committecl On or After November 1, 1987)

The defendant pleaded guilty to Count1 ofthe |ndictment on lVlarch 04, 2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Tit|e & Section Nature of Offense Offense Number(s)
Concluded
21 U.S.C. §§ B41(a)(1) Possession with intent to Distribute 02/17/2004 1

and (b)(1)(C) Cocaine Base

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Nlandatory
Victims Restitution Act of 1996

lT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 05/17/1972 June 02, 2005
Deft’s U.S. l\/larshal No.: 19811-076

Defendant’s l\/lailing Address:
3146 Dahlia Drive
Memphis, TN 38127

  
 

 

’/ BERNlc‘E B. DoNAl_D
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June , 2005

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Case No: 2:04CR20292-01 Defendant Name: Grady MCDOWN Page 2 of4
lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 57 Months.

The Court recommends to the Bureau of Prisons:

That the defendant participate in the 500 hour comprehensive drug treatment
program;

That the defendant be designated to a facility as close to Memphis, Tennessee as
possible

The defendant’s sentence shall be deferred until after September 15, 2005.
The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States Marshal.

RETU RN

| have executed this judgment as follows:

 

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. l\/|arsha|

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Case No: 2:04CR20292-01 Defendant Name: Grady MCDOWN Page 3 of4

SUPERV|SED RELEASE

Upon release from imprisonmentl the defendant shall be on supervised release for
a term of 3 years

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial districtwithout the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation ofHCer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooiing, training, or other acceptable reasons',

5. The defendant shall notify the probation ocher ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess. use,

distribute, or administer any narcotic or other controlled su bstance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Case No: 2:04CR20292-01 Defendant Name: Grady MCDOWN Page 4 of4

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notincation requirement

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminal |Vlonetary Pena|ties sheet of this judgment

ADDiTlONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

The defendant shall participate in substance abuse testing and treatment programs as
directed by the Probation Ocher;

The defendant shall obtain and maintain full-time employment;

The defendant shall cooperate with DNA collection as directed by the Probation Officer;

The defendant shall obtain his GED.

CR|MINAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|i of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Totai Assessment Totai Fine Totai Restitution

$100.00

The Speciai Assessment shall be due immediatelyl

F|NE
No fine imposedl

REST|TUT|ON
No Restitution was ordered

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 54 in
case 2:04-CR-20292 Was distributed by faX, mail, or direct printing on
J unc 13, 2005 to the parties listed.

 

 

Steffen G. Schreiner

LAW OFFICE OF STEFFEN G. SCHREINER
369 N. Main

i\/lemphis7 TN 38103

Leonard E. Lucas

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

